        Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 1 of 19




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
___________________________________
                                           )
ZING HEALTH, INC.                          )
225 W. Washington Street, Suite 450        )
Chicago, Illinois 60606                    )
                                           )      Case No. 1:24-cv-855
                       Plaintiff,          )
                                           )
        v.                                 )
                                           )
DEPARTMENT OF HEALTH AND                   )
HUMAN SERVICES                             )
Hubert H. Humphrey Building                )
200 Independence Avenue, S.W.              )
Washington, D.C. 20201;                    )
                                           )
CENTERS FOR MEDICARE &                     )
MEDICAID SERVICES                          )
7500 Security Boulevard                    )
Baltimore, MD 21244;                       )
                                           )
XAVIER BECERRA, in his official            )
capacity as Secretary of the United States )
Department of Health and Human Services )
Hubert H. Humphrey Building                )
200 Independence Avenue, S.W.,             )
Washington, D.C., 20201; and               )
                                           )
CHIQUITA BROOKS-LASURE, in her             )
official capacity as Administrator,        )
Centers for Medicare & Medicaid Services )
7500 Security Boulevard                    )
Baltimore, MD 21244,                       )
                                           )
                       Defendants.         )
___________________________________ )

                               COMPLAINT FOR
                      DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Zing Health, Inc. (“Zing”), submits the following Complaint for declaratory and

injunctive relief against Defendants Department of Health and Human Services (“HHS”), the




                                              -1-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 2 of 19




Centers for Medicare & Medicaid Services (“CMS”), Xavier Becerra, in his official capacity as

Secretary of HHS, and Chiquita Brooks-LaSure, in her official capacity as Administrator of

CMS (collectively, “Defendants” or “CMS”), and alleges as follows:

                                         INTRODUCTION

       1.      Zing brings this action to address a serious error that CMS has made in

calculating Zing’s 2024 Star Ratings, which, if not promptly corrected, will cause Zing to be

unfairly terminated from participating in the Medicare Advantage Program, thereby precluding it

from serving low-income and minority beneficiaries and undermining its mission of addressing

inadequacies in the healthcare system.

       2.      This erroneous calculation and CMS’s refusal to address it in compliance with its

own regulation are a disturbing, if textbook, example of rigid and unreasonable agency decision-

making that should be set aside.

       3.      CMS disregarded the plain text of its own regulation and adopted an “implied”

approach, obscured within regulatory preamble and commentary, to calculate the 2024 Star

Ratings. This new methodology, which was never the subject of any proper rulemaking,

improperly reduced Zing’s Star Ratings. That result is directly contrary to the entire purpose of

the regulation that CMS misapplied, which is to stabilize Star Ratings and thereby reduce wild,

year-over-year ratings swings through use of explicit “guardrails.”

       4.      Zing was founded in 2019 by physician entrepreneurs and a healthcare executive

with the mission to address healthcare disparities among historically underserved populations. In

fact, 83% of the Medicare beneficiaries enrolled in Zing’s MA-PD plans are Black or Hispanic

and 75% receive low-income subsidies for the Medicare Part D coverage.




                                               -2-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 3 of 19




       5.      Moreover, Zing offers two of only seven available MA-PD HMO plans with

Cook County Hospital System that services these underserved beneficiaries with $0 premiums

and deductibles, low maximum out-of-pocket costs, and Part D coverage gap coverage.

       6.      MA Plans, like Zing, receive annual Star Ratings from CMS based on “health and

drug plan quality and performance measures” that are used by Medicare beneficiaries to shop for

plans. CMS also relies on the Star Ratings to determine MA Plans’ eligibility to receive quality

bonus payments and rebates that fund additional benefits for their Medicare members.

       7.      CMS calculates the Star Ratings based on a clear and unambiguous methodology

that includes the calculation of measure-specific “cut points.”

       8.      In 2020, CMS promulgated regulations that revised its Star Ratings methodology

to include “guardrails” that provide stability and predictability for MA Plans by reducing the

fluctuation in the cut points used to calculate annual Star Ratings.

       9.      CMS is required to use actual cut points from the prior year to determine the

appropriate cut points that are used to calculate an MA-PD plan’s Star Ratings.

       10.      But in calculating the 2024 Star Ratings for Zing, CMS applied an entirely

different and new methodology that was not subject to any formal notice and comment

rulemaking, and that directly contradicted the plain text of its own regulation.

       11.     Instead of using actual plan performance data from 2023 to calculate 2024 cut

points in accordance with the established guardrails for Star Ratings, CMS recalculated the 2023

cut points by prematurely applying the Tukey outlier deletion method.

       12.     When Zing confronted the agency about its use of recalculated data, CMS merely

asserted it did not agree with Zing and refused to abide by its own regulation.




                                                 -3-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 4 of 19




       13.     The result was catastrophic: Zing’s 2024 Part D Star Rating remained low, and

became the third and last data point used by CMS to terminate Zing’s contract from the MA-PD

program effective December 31, 2024, threatening its beneficiaries’ ability to receive coverage

and depriving it of millions of dollars in revenue.

       14.     In addition to terminating Zing’s contract, CMS also imposed marketing and

enrollment sanctions on Zing, which effectively foreclosed new enrollments into Zing’s MA-PD

plans for the remainder of 2024.

       15.     CMS’s failure to adhere to its articulated methodology to calculate Zing’s Star

Ratings constitutes an unexplained and unreasonable departure from its own regulation, which

carries dire consequences for Zing and other MA Plans.

       16.     CMS’s refusal to follow its own promulgated methodology and reliance on

flawed data are arbitrary and capricious agency actions in violation of the APA.

       17.     CMS’s 2024 Star Ratings for Zing should be vacated, and this matter should be

remanded to the agency to adjust Zing’s 2024 Star Ratings based on a proper application of its

regulation and use of data that is not inherently flawed.

       18.     To prevent Zing from suffering irreparable harm from CMS’s improper rating, the

Court should expedite the resolution of this matter on the merits and also enjoin CMS from

relying on its improper Part D Star Ratings to terminate Zing’s contract with CMS.

                                            PARTIES

       19.     Zing is a for-profit corporation incorporated in Illinois, duly licensed as a health

maintenance organization in Illinois, and with its principal place of business in Chicago, Illinois.

       20.     Defendant HHS is the department of the federal government ultimately

responsible for the federal Medicare and Medicaid programs.




                                                 -4-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 5 of 19




       21.     HHS has delegated its authority to administer the Medicare and Medicaid

programs to CMS. See 66 Fed. Reg. 35437.

       22.     Defendant CMS is a federal agency within HHS with the primary oversight

responsibility for the Medicare program and the federal portion of the Medicaid program. It was

created by the Reorganization Act of March 9, 1977. See 66 Fed. Reg. 35437.

       23.     Defendant Xavier Becerra is named in his official capacity as the Secretary of

HHS. See 42 C.F.R. § 405.1136(d)(1).

       24.     Defendant Chiquita Brooks-LaSure is named in her official capacity as

Administrator of CMS. The CMS Administrator is responsible for the administration of the

Medicare program, including the Star Ratings for MA Plans. Id.

                                   JURISDICTION & VENUE

       25.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 because

this action arises under the APA, 5 U.S.C. §§ 701 et seq., and 42 U.S.C. §§ 1395 et seq.

       26.     Venue is proper in this Court under 28 U.S.C. § 1391(e) because this is an action

against officers and agencies of the United States and a substantial part of the events giving rise

to Zing’s claims occurred in this District.

       27.     The Complaint is timely under 28 U.S.C. § 2401(a).

                     REGULATORY AND FACTUAL BACKGROUND

                            The Medicare Program And Star Ratings

       28.     The Medicare program, authorized under Title XVIII of the Social Security Act

(“SSA”), is a federal program that provides health insurance benefits for Americans aged 65

years and older and certain disabled persons. See 42 U.S.C. §§ 1395 et seq.

       29.     CMS is the federal agency responsible for administering the Medicare program.




                                                -5-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 6 of 19




        30.    Individuals enrolled in Medicare may elect to receive their benefits under Part C

of the Medicare program, commonly referred to as the “Medicare Advantage” program, as an

alternative to original Medicare.

        31.    Under Part C, CMS contracts with private insurance payors, commonly known as

Medicare Advantage Plans (“MA Plans”), to provide and arrange for Medicare-covered benefits

for Medicare beneficiaries who enroll in their benefit plan. See 42 C.F.R. § 422.4.

        32.    Most MA Plans also provide Medicare Part D prescription drug coverage. See 42

C.F.R. § 422.4(c)(1).

        33.    MA Plans that provide offer Part D coverage are referred to as MA-PD plans. See

42 C.F.R. § 423.4.

        34.    Besides arranging and paying Medicare-covered benefits of Medicare

beneficiaries, MA Plans typically provide supplemental benefits as well as lower co-payments

and other cost sharing, which further reduce the cost of covered services for beneficiaries.

        35.    The Medicare Advantage program is intended to shift the financial risk of

providing health care to beneficiaries from the federal government to the privately run MA Plans

in exchange for a per-member, per-month payment.

        36.    MA Plans that are better at keeping their members healthy, by effectively

managing their care and providing important related services, receive higher ratings, and overall,

perform better in the marketplace. See generally 42 C.F.R. § 422.160.

        37.    By providing additional benefits beyond those covered by Medicare, MA Plans

compete with original Medicare and with one another to convince beneficiaries to select their

plan.




                                                -6-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 7 of 19




        38.     In an effort to encourage MA Plans to offer high quality plans and to assist

Medicare beneficiaries in selecting a Part C plan, CMS studies and surveys MA Plans for

quality, compliance, and other metrics to develop numerical ratings for each MA Plan (“Star

Ratings”).

        39.     The Star Ratings are based on a five-star scale, with 1 star being the lowest rating

and 5 stars being the highest. See 42 C.F.R. § 422.162(b); 42 C.F.R. § 422.166(h)(1)(ii).

        40.     MA Plans that also provide Part D coverage receive a separate Part D Star Rating.

See 42 C.F.R. § 422.162(b).

        41.     The Star Ratings are designed to be “a true reflection of the plan’s quality” and

must be based on data that is “complete, accurate, reliable, and valid.” 83 Fed. Reg. 16440,

16521 (Apr. 16, 2018).

        42.     Star Ratings information is widely available to Medicare beneficiaries to consider

when choosing to enroll in an MA Plan. These measures are particularly important, as they

allow beneficiaries to compare health plans based on quality.

        43.     CMS prominently displays Star Ratings in its online and print resources on

available MA Plans as required under the Social Security Act (“SSA”). See 42 U.S.C. § 1395w–

21.

        44.     Indeed, through the online Medicare Plan Finder tool, CMS displays MA Plans in

highest to lowest Star Ratings order to prospective members, with the express purpose of guiding

beneficiaries to higher-rated plans first.

        45.     The Star Ratings also impact the amount of funds CMS will pay to each MA Plan.




                                                 -7-
           Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 8 of 19




       46.     Under Section 1853(o) of the SSA, CMS allocates quality bonuses to MA Plans

based on their Star Ratings and awards additional funds to MA Plans rated at or above 4 stars.

See 42 U.S.C. § 1395w–23.

       47.     MA Plans use these bonuses, which are often in the tens, if not hundreds of

millions, of dollars, to provide additional benefits and services to further improve care to their

members.

       48.     Conversely, MA Plans that consistently receive Star Ratings below 3 stars may be

terminated from the Medicare Advantage program altogether. See 42 C.F.R. § 422.510(a)(4)(xi);

42 C.F.R. § 423.509(a)(4)(x).

       49.     Thus, the Star Ratings have tremendous value to and impact on MA Plans to

provide quality care and benefits to their members, compete in the marketplace, receive

compensation, and even remain eligible to continue to participate in the Medicare Advantage

program.

                              Calculation Of Star Ratings Generally

       50.     To calculate Star Ratings, CMS must use clear and unambiguous calculations

established in its regulations. See 42 C.F.R. § 422.162(b); 42 C.F.R. § 422.166(h)(1)(ii); 42

C.F.R. § 423.182(b); 42 C.F.R. § 423.186(h)(1)(ii).

       51.     Star Ratings for MA Plans are based on a calculation of numerous performance

measures designed to assess member services and care, including but not limited to preventative

health services, management of long-term conditions, member experiences with the health plan,

member complaints, and customer service. See Medicare 2024 Part C & D Star Ratings

Technical Notes at 26-100, CENTERS FOR MEDICARE AND MEDICAID SERVICES,

https://www.cms.gov/files/document/2024technotes20230929.pdf.




                                                 -8-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 9 of 19




       52.     CMS publishes these measures and the specifications that it uses to develop its

Star Ratings. MA Plans (including Zing) use them to target areas of improvement and

investment to ensure they are maximizing their care and services for beneficiaries, and in turn,

earn higher Star Ratings.

       53.     Any changes to the Star Ratings calculations can have serious, and sometimes

catastrophic, impacts on MA Plans.

       54.     When Star Ratings fall due to changes in criteria and calculation methodology,

MA Plans may be disqualified from receiving quality bonus payments and can even be removed

from the Medicare Advantage program altogether, resulting in devastating financial and

coverage consequences for MA Plans and beneficiaries.

       55.     Therefore, in developing each MA Plan’s Star Ratings, CMS must treat each MA

Plan “fairly and equally,” judging them only on matters that are “under the control of the health

or drug plan,” in a system that will “minimize unintended consequences” adopted through a

“process of developing [a ratings methodology that] is transparent and allows for multi-

stakeholder input.” 83 Fed. Reg. 16440, 16521.

       56.     CMS calculates Star Ratings based on a rigid methodology – set forth in its own

regulations – that focuses on “health and drug plan quality and performance measures.” 42

C.F.R. § 422.166; Medicare 2024 Part C & D Star Ratings Technical Notes at 2 & 26-100.

       57.     Measures used to calculate Star Ratings can be grouped into two categories:

those from the Consumer Assessment of Healthcare Providers and Systems surveys (“CAHPS”),

and those from “non-CAHPS” sources. Medicare 2024 Part C & D Star Ratings Technical

Notes, at 2 & 26-73.




                                                -9-
        Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 10 of 19




       58.     CAHPS measures relate to member experience with healthcare providers,

services, and plans, deriving data from “surveys that ask consumers and patients to evaluate the

interpersonal aspects of health care.” 42 C.F.R. § 422.162(a). In other words, they measure the

member experience.

       59.     Non-CAHPS measures derive data from sources other than CAHPS surveys. See

Medicare 2024 Part C & D Star Ratings Technical Notes, at 4. Non-CAHPS measures consist of

data from, among other sources, the Healthcare Effectiveness Data and Information Set1 and

CMS’s Part C and D reporting requirements. Id. at i.

       60.     Each CAHPS and non-CAHPs measure is given a numeric score. Id. at 2.

       61.     The agency then determines the “cut point” for each measure – that is, the range

of scores that correspond with particular Star Ratings.2

       62.     The statistical method used to calculate the cut points differs for CAHPS and non-

CAHPS measures. Id. at 8.

       63.      CAHPS measures employ a relative distribution and significance testing

method,3 while non-CAHPS measures are subject to a clustering sampling method. Id.


1
  The Healthcare Effectiveness Data and Information Set (“HEDIS”) is a tool used by more than
90 percent of U.S. health plans to measure performance on important dimensions of care and
service. More than 190 million people are enrolled in health plans that report quality results
using HEDIS. See Healthcare Effectiveness Data and Information Set (HEDIS) - Healthy People
2030 | health.gov (last visited Mar. 25, 2024).
2
  For instance, the 2023 cut points for measure C11 (Controlling Blood Pressure) – which is
measured as a percentage – were the following: below 39% for 1 Star, between 39% and 62% for
2 Stars, between 62% and 75% for 3 Stars, between 75% and 83% for 4 Stars, and above 83%
for 5 Stars. See Medicare 2023 Part C & D Star Ratings Technical Notes, at 45-47.
3
  Clustering sampling is defined by CMS as a “variety of techniques used to partition data into
distinct groups such that the observations within a group are as similar as possible to each other,
and as dissimilar as possible to observations in any other group.” 42 C.F.R. § 422.162(a).
Clustering of the measure-specific scores means “that gaps that exist within the distribution of
the scores are identified to create groups (clusters) that are then used to identify the four cut
points resulting in the creation of five levels (one for each Star Rating), such that the scores in


                                                -10-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 11 of 19




        64.    Together, the CAHPS and non-CAHPS measure scores and cut points are

combined to develop each MA Plan’s Star Ratings.

                             CMS Adopts Guardrail Requirements As
                              Part Of The Star Ratings Methodology

        65.     On June 2, 2020, CMS promulgated a final rule establishing a new methodology

for the calculation of Star Ratings. See 85 Fed. Reg. 33796. The new methodology was

supposed to be applied starting in 2021, but was delayed because of the COVID-19 pandemic.

        66.    The final rule modified the methodology for non-CAHPS measures in two critical

ways.

        67.    First, the final rule explained that, starting in 2024, the Tukey outlier deletion

method would be used in developing the cut points for non-CAHPS measures. See 42 C.F.R.

§ 422.166(a)(2).4

        68.    Second, and most importantly, the final rule implemented “guardrails” or “bi-

directional caps that restrict upward and downward movement of a measure’s cut points” from

one year to the next. Id.5

        69.    Specifically, the guardrail prevents each measure’s cut points from fluctuating

more than 5% (upward or downward) from that of the previous year, thereby promoting stability

in Star Ratings year over year. See generally 85 Fed. Reg. 33796-33911.




the same Star Rating level are as similar as possible and the scores in different Star Rating levels
are as different as possible.” Id.
4
  Tukey outlier deletion is a “standard statistical methodology for removing outliers, to increase
the stability and predictability of the star measure cut points.” 85 Fed. Reg. 33798.
5
  A guardrail is defined by CMS as “a bidirectional cap that restricts both upward and downward
movement of a measure threshold-specific cut point for the current year’s measure-level Star
Ratings as compared to the prior year’s measure-threshold-specific cut point.” 42 C.F.R.
§ 422.162(a).


                                                -11-
        Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 12 of 19




       70.     CMS thus adopted the guardrail requirement to provide stability and predictability

from year-to-year. See generally id.

       71.     According to the regulation, CMS is supposed to rely on the actual cut points

from the prior year to determine and calculate the guardrail to measure the cut points that

ultimately would be used to develop the Star Ratings for the MA Plans.

       72.     CMS explained that it would incorporate the “guardrail so that the measure-

threshold-specific cut points for non-CAHPS measures do not increase or decrease more than the

value of the cap from 1 year to the next.” Id.

       73.     Under the final rule, therefore, to calculate the 2024 Star Ratings cut points, CMS

is required to remove Tukey outliers from its methodology and then apply the guardrail caps for

each measure’s cut points compared to the actual 2023 cut points. See 42 C.F.R.

§ 422.166(a)(2)(i).

       74.     Doing so is supposed to prevent the 2024 cut points from deviating more than 5%

from the 2023 cut points, thereby bringing stability to the calculations and process for MA Plans

and Star Ratings. Id.

                    CMS’s Arbitrary Rejection Of Its Own Methodology
       To Develop The 2024 Star Ratings Caused Zing To Receive A Lower Star Ratings

       75.     As a new MA-PD Plan, Zing has struggled to receive high Star Ratings, receiving

a 2.5 in both 2022 and 2023.

       76.     As previously noted, due to the COVID-19 pandemic, CMS delayed

implementing its guardrail requirement for two years until 2023, when it was supposed to use

that requirement to establish the 2024 Star Ratings. See 87 Fed. Reg. 22776.

       77.     Thus, 2023 was the first time that CMS implemented its guardrail requirement,

when it established its 2024 Star Ratings. See id.



                                                 -12-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 13 of 19




        78.      Zing’s 2024 Part D Star Ratings came in at 2.5 Stars – far lower than its expected

3 Star Rating.

        79.      CMS may terminate an MA Plan contract when the Plan does not comply with the

regulatory requirements of the Medicare Advantage Program, including if a plan achieves less

than a 3-Star rating on Part C or Part D for three years in a row. See 42 C.F.R. §§

422.510(a)(4)(xi), 423.509(a)(4)(x).

        80.      Because of Zing’s 2024 Part D Star Rating, Zing had received three Part D Star

Ratings below the 3-Star threshold. Accordingly, CMS initiated termination of Zing’s contract.

        81.      Zing initiated an administrative appeal relating to the procedures CMS failed to

adhere to, including the calculation of its 2024 Star Ratings.

        82.      In response to Zing’s challenge, CMS advised that “the 2023 Star Ratings cut

points were rerun . . . and [t]hese rerun 2023 Star Ratings cut points serve as the basis for the

guardrails for the 2024 Star Ratings.” See Exhibit (“Ex.”) 1, CMS Letter to Zing on Jan. 26,

2024.

        83.      That is to say, in computing Zing’s 2024 Star Ratings, CMS used rerun simulated

2023 cut points data.

        84.      But CMS’s own regulation requires it to rely on the previous year’s actual cut

points and data – not simulated, rerun data. See 42 C.F.R. § 422.166(a)(2).

        85.      Nevertheless, CMS rejected the methodology set forth in the regulation, and

refused to consider actual cut points for the prior year.




                                                 -13-
        Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 14 of 19




       86.     And the results were just as dire as expected: MA Plans’ Star Ratings fluctuated

wildly, and well-beyond the 5% caps on cut point swings that the guardrails are supposed to

impose.6

       87.     Thus, Zing’s 2024 Part D Star Rating was significantly lower than expected as a

result of CMS’s failure to apply its own regulations.

       88.     Had CMS followed the regulation as written, Zing’s Part D Star Rating would

have been 3 stars – which would have precluded CMS from terminating Zing’s contract.

       89.     CMS’s failure to follow its own regulation resulted in the very thing that the

guardrails were designed and intended to prevent: wild fluctuations in cut points that impact MA

Plans’ Star Ratings.

       90.     Zing alerted CMS to its flawed methodology, explaining that the regulation

requires CMS to apply the guardrail to actual cut points from the prior year, not to rerun data that

effectively amount to simulated data points. See Ex. 2, Zing Letter to CMS on Jan. 5, 2024.

       91.     Rerunning the 2023 data is inconsistent with the plain and express language of the

regulation, which calls for comparison between the current and prior year’s actual and measure-

specific-threshold cut points. See 42 C.F.R. § 422.166(a)(2)(i).

       92.     It also frustrates the very purpose of CMS’s guardrail regulation, which is to

reduce risk and uncertainty for MA Plans by preventing dramatic swings in cut points and

resulting ratings that can have massive adverse impacts on MA Plans and beneficiaries.

       93.     By its express terms, CMS’s regulation does not permit the agency to recalculate

the prior year’s cut points for the purposes of generating and applying the guardrails. See Ex. 2.



6
 See https://www.cms.gov/medicare/health-drug-plans/part-c-d-performance-data (last visited
Mar. 25, 2024).


                                                -14-
        Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 15 of 19




       94.      When confronted with the flaws in its approach, CMS asserted that statements in

its preamble to its final rule related to the use of Tukey outliers somehow permitted its departure

from the regulation’s actual text. Ex. 1; 85 Fed. Reg. 9044; 85 Fed. Reg. 33833.

       95.      Despite Zing’s efforts to further discuss and resolve its concerns, CMS refused to

meaningfully engage with Zing or reconsider its flawed approach and grave impacts of it.

       96.      As such, CMS ultimately used this third flawed Star Ratings – a rating that is not

“a true reflection of the plan’s quality” – to justify terminating Zing’s contract. 83 Fed. Reg.

16440, 16521 (Apr. 16, 2018).

                            CMS’s Unlawful Conduct Has Harmed –
                               And Continues To Harm – Zing

       97.      CMS’s refusal to abide its own regulation threatens to cause severe and

irreparable harm to Zing.

       98.      By applying some newfound “intrinsic” methodology to calculate guardrails,

rather than its actual regulation, Defendants have used simulated, rerun data to calculate Zing’s

Star Ratings.

       99.      As a result, Defendants have issued fundamentally flawed Part D and overall Star

Ratings for Zing of 2.5 stars.

       100.     The impact of Defendants’ action is serious and substantial.

       101.     By issuing a flawed 2024 Part D Star Rating for Zing’s contract, CMS made

Zing’s contract eligible for termination and did in fact notify Zing that it was terminating Zing’s

contract program effective December 31, 2024, which will cause Zing to cease operations and

discontinue providing services to low socioeconomic and minority beneficiaries.




                                                -15-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 16 of 19




       102.     In reliance of its termination notice to Zing, CMS also imposed marketing and

enrollment sanctions on Zing, which prevent Zing from enrolling new beneficiaries in its MA-

PD plans for the remainder of 2024.

       103.     The flawed Star Ratings, accompanying contract termination and marketing and

enrollment sanctions have also undermined Zing’s competitive position, reputation, and

goodwill.

       104.     Additionally, as a result of CMS’s flawed rating methodology, beneficiaries will

lose their health coverage and be unable to access equivalent care.

       105.     Zing has tried to resolve the parties’ dispute informally to no avail. Exs. 1-2.

       106.     Left with no other option, Zing turns to this Court to require Defendants to

comply with federal law, vacate the flawed Star Ratings assigned to Zing, and enjoin them from

relying on that unlawful rating in connection with Zing’s eligibility as a Medicare Advantage

organization.

                                           COUNT I
                 (Violation Of 5 U.S.C. § 706(2)(A) – Against All Defendants)
                        (Use Of Simulated And Rerun Cut Point Data)

       107.     Zing realleges the allegations set forth in Paragraphs 1 through 106 of this

Complaint as if fully set forth herein.

       108.     CMS’s decision – as approved and directed by Defendants – to use simulated and

rerun 2023 cut point data to calculate Zing’s 2024 Star Ratings is a final agency action made

reviewable by 5 U.S.C. § 706(2) and 42 C.F.R. § 422.260(c)(3).

       109.     Zing is adversely affected and aggrieved by Defendants’ action.

       110.     Defendants’ decision to use simulated and rerun cut point data for 2023 is

arbitrary and capricious and contrary to law.




                                                -16-
           Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 17 of 19




          111.   Defendants failed to engage in reasoned decision-making; to reasonably (or at all)

explain their departure from CMS’s own regulation; or to provide an adequate and reasonable

explanation for their decision.

          112.   Defendants’ action flies in the face of the plain and unambiguous text of their own

regulation and undermines the policy and purpose of that regulation to reduce Star Ratings

swings that harm MA Plans and beneficiaries.

          113.   Defendants acted unreasonably and contrary to law by deploying a methodology

that is inconsistent with the approach mandated by their regulation, and was never disclosed to

regulated parties – let alone adopted pursuant to any proper rulemaking proceedings.

          114.   As a result, Defendants’ decision is arbitrary, capricious, and otherwise not in

accordance with the law in violation of 5 U.S.C. § 706(2)(A).

          115.   Zing has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(A).

          116.   Zing is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C.

§ 705.

                                            COUNT II
                                       Declaratory Judgment

          117.   Zing realleges and incorporates Paragraphs 1 through 106 as if fully set forth

herein.

          118.   CMS’s calculation of the 2024 Star Ratings is a final agency action made

reviewable by 5 U.S.C. § 706(2).

          119.   Zing is adversely affected and aggrieved by the calculation of its Star Ratings.




                                                 -17-
         Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 18 of 19




        120.       An actual controversy has arisen and exists between Zing and Defendants

regarding Defendants’ calculation of Zing’s 2024 Star Ratings using simulated and rerun 2023

data.

        121.       Zing requests a declaration from this Court under 28 U.S.C. § 2201 that

Defendants’ calculation is arbitrary and capricious.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Zing prays that this Court vacate Zing’s 2024 Star Ratings and

remand this matter to the agency for further consideration. Additionally, Zing requests the Court

to:

        1.         Adopt an expedited schedule to resolve the merits of this Complaint;

        2.         Declare that:

               •      Defendants’ rerunning of the 2023 cut points to calculate Zing’s 2024 Star
                      Ratings directly conflicts with CMS’s regulatory requirements and is arbitrary
                      and capricious in violation of 5 U.S.C. § 706(2)(A);

               •      Defendants must recalculate Zing’s 2024 Star Ratings in compliance with
                      CMS’s final rule, specifically considering actual performance data.

         3.        An injunction:

               •      Preventing Defendants from using Zing’s 2024 Star Ratings in connection
                      with any termination and intermediate sanction decisions.

          4.       Award Zing its reasonable attorney’s fees and costs, as permitted by law; and

          5.       Grant such other further relief as this Court deems just and proper.




                                                   -18-
      Case 1:24-cv-00855-RBW Document 1 Filed 03/25/24 Page 19 of 19




Dated: March 25, 2024


                                      By:
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                                   -19-
